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                                                                                   RECEIVED

                                                                                       DEC 0 8 2015
                                UNITED STATES DISTRICT COURT
                                                                                   AT 8:30_.              M
                               FOR THE DISTRICT OF NEW JERSEY                         WILL lAM T. WALSH
                                                                                            CLERK



    Carlos Amaro
                Plaintiff                                  Civil Action No. l 5-cv-6654 (PGS)

                         v.
    Verde Energy
             Defendant.

                                                                  ORDER

        WHEREAS, this matter having come before the Court, and the parties having amicably

resolved the matter and

       IT IS on this   gth   day of December, 2015,

       ORDERED that the matter be and hereby is dismissed with prejudice and without costs,

except any party may reopen for good cause shown within sixty days. The court retains

jurisdiction over the agreement to enforce the terms.




                                                        PETER G. -SHERIDAN, U.S.D.J.
